      Case 2:20-cr-00634-DWL Document 89 Filed 04/20/22 Page 1 of 1




     JON M. SANDS
 1   Federal Public Defender
     District of Arizona
 2   850 W. Adams, Suite 201
 3
     Phoenix, Arizona 85007
     Telephone: 602-382-2700
 4
     JANE L. McCLELLAN, State Bar #015902
 5   Asst. Federal Public Defender
     Attorney for Defendant
 6   jane_mcclellan@fd.org
 7                       IN THE UNITED STATES DISTRICT COURT
 8                               DISTRICT OF ARIZONA
 9
     United States of America,                     No. CR-20-00634-PHX-DWL
10
                  Plaintiff,
11                                                NOTICE OF APPEARANCE
           vs.                                       AS CO-COUNSEL
12
     Jill Marie Jones,
13
                  Defendant.
14
15         NOTICE is hereby given, in accordance with Criminal Local Rule 57.14 and
16   Civil Local Rule 83.3(a) of the Rules of Practice for the U.S. District Court of
17   Arizona, that Assistant Federal Public Defender Jane L. McClellan is added as co-
18   counsel with Assistant Federal Public Defender Mark Rumold, as attorneys for the
19   Defendant.
20         Respectfully submitted: April 20, 2022.
21
                                    JON M. SANDS
22                                  Federal Public Defender
23
                                    s/Jane L. McClellan
24                                  JANE L. McCLELLAN
                                    Asst. Federal Public Defender
25
26
27
28
